       Case 1:03-cr-01890-JB          Document 336         Filed 07/11/05      Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                             No. CR 03-1890 JB

TOBY JEROME LEE

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Toby Jerome Lee’s Sentencing

Memorandum and Request to Allow Safety Valve Reduction From Sentencing Guidelines Advisory

Set Forth in Presentence Investigation Report, filed January 31, 2005 (Doc. 289). The Court held

a sentencing hearing on March 25, 2005. The primary issue is whether the safety valve reduction is

available to Defendant Toby Jerome Lee. Consistent with the Court’s ruling at the hearing, and for

the reasons given at the sentencing, the Court will deny Lee’s request for the safety valve reduction.

The Court will, however, exercise its discretion under United States v. Booker, 543 U.S. ___, 125

S.Ct. 738 (2005), and sentence Lee to a term that, although it deviates from the Guidelines sentence,

more effectively promotes the sentencing goals outlined in 18 U.S.C. § 3553(a).

                             THE “SAFETY VALVE” EXCEPTION

       Section 5C1.2 of the Guidelines provides an exception to the statutory minimum sentences

under 21 U.S.C. §§ 841, 844, 846, 960, or 963. If a defendant meets certain criteria, a court will

impose a Guideline sentence and not a statutory minimum sentence. See U.S.S.G. § 5C1.2(a). To

receive the safety valve exception, the defendant must meet the following criteria:
        Case 1:03-cr-01890-JB          Document 336         Filed 07/11/05      Page 2 of 10




       (1) the defendant does not have more than 1 criminal history point, as determined
       under the sentencing guidelines before application of subsection (b) of § 4A1.3
       (Departures Based on Inadequacy of Criminal History Category);

       (2) the defendant did not use violence or credible threats of violence or possess a
       firearm or other dangerous weapon (or induce another participant to do so) in
       connection with the offense;

       (3) the offense did not result in death or serious bodily injury to any person;

       (4) the defendant was not an organizer, leader, manager, or supervisor of others in the
       offense, as determined under the sentencing guidelines and was not engaged in a
       continuing criminal enterprise, as defined in 21 U.S.C. § 848; and

       (5) not later than the time of the sentencing hearing, the defendant has truthfully
       provided to the Government all information and evidence the defendant has
       concerning the offense or offenses that were part of the same course of conduct or of
       a common scheme or plan, but the fact that the defendant has no relevant or useful
       other information to provide or that the Government is already aware of the
       information shall not preclude a determination by the court that the defendant has
       complied with this requirement.

U.S.S.G. § 5C1.2(a). The Application Notes explain that: “‘[M]ore than 1 criminal history point, as

determined under the sentencing guidelines,’as used in subsection (a)(1), means more than one

criminal history point as determined under § 4A1.1 (Criminal History Category) before application

of subsection (b) of § 4A1.3 (Departures Based on Inadequacy of Criminal History Category).”

U.S.S.G. § 5C1.2 n1. Thus, “a reduction of a defendant’s criminal history category under § 4A1.3

is irrelevant to his eligibility for the safety valve provision.” United States v. Villalobos-Reyes, No.

99-2307, 2000 U.S. App. LEXIS 3157, *5 (10th Cir. Mar. 1, 2000)(unpublished). See also United

States v. Arciga, No. 03-7089, 105 Fed. Appx. 261, 264 (10th Cir. Aug. 2, 2004)(unpublished);

United States v. Owensby, 188 F.3d 1244, 1246-47 (10th Cir. 1999).

               UNITED STATES v. BOOKER AND 18 U.S.C. § 3553(a)

       In United States v. Booker, the Supreme Court of the United States held that its decision in


                                                  -2-
        Case 1:03-cr-01890-JB          Document 336         Filed 07/11/05      Page 3 of 10




Blakely v. Washington, 542 U.S. ___, 124 S.Ct. 2531 (2004), applied to the federal Sentencing

Guidelines.    See United States v. Booker, 125 S.Ct. at 749 (“[T]here is no distinction of

constitutional significance between the Federal Sentencing Guidelines and the Washington procedures

at issue in [Blakely].”); id. at 755 (“[O]ur holding in Blakely applies to the Sentencing Guidelines.”).

Consequently, the Supreme Court held unconstitutional two provisions of the federal sentencing

statute that made the Guidelines binding and mandatory on district courts assessing sentences, and

held that they must be excised from the statute. See id. at 756-57, 764-65. Specifically, the Supreme

Court excised 18 U.S.C. § 3553(b)(1), which made the Guidelines mandatory, and 18 U.S.C. §

3742(e), which set the standard of review of sentences on appeal, including the provision for de novo

review of departures from the Guidelines. See United States v. Booker, 125 S.Ct. at 756-57, 764-65.

The result is that the Guidelines remain in effect, but are advisory, not mandatory, and courts of

appeal must review sentences for “unreasonableness.” Id. at 757, 765-67, 769.

       The Supreme Court left intact all other provisions of the Sentencing Reform Act, including

18 U.S.C. § 3553(a). See United States v. Booker, 125 S.Ct. at 757, 764-65. Section 3553(a)

provides:

       The court shall impose a sentence sufficient, but not greater than necessary, to comply
       with the purposes set forth in paragraph (2) of this subsection. The court, in
       determining the particular sentence to be imposed, shall consider--

            (1) the nature and circumstances of the offense and the history and characteristics
            of the defendant;

            (2) the need for the sentence imposed--

                (A) to reflect the seriousness of the offense, to promote respect for the law,
                and to provide just punishment for the offense;

                (B) to afford adequate deterrence to criminal conduct;


                                                  -3-
       Case 1:03-cr-01890-JB         Document 336         Filed 07/11/05       Page 4 of 10




              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

          (3) the kinds of sentences available;

          (4) the kinds of sentence and the sentencing range established for--

              (A) the applicable category of offense committed by the applicable category
              of defendant as set forth in the guidelines--

                   (i) issued by the Sentencing Commission pursuant to section 994(a)(1)
                   of title 28, United States Code, subject to any amendments made to such
                   guidelines by act of Congress (regardless of whether such amendments
                   have yet to be incorporated by the Sentencing Commission into
                   amendments issued under section 994(p) of title 28); and

                   (ii) that, except as provided in section 3742(g), are in effect on the date
                   the defendant is sentenced; . . .

          ****

          (5) any pertinent policy statement--

              (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
              title 28, United States Code, subject to any amendments made to such policy
              statement by act of Congress (regardless of whether such amendments have
              yet to be incorporated by the Sentencing Commission into amendments issued
              under section 994(p) of title 28); and

              (B) that, except as provided in section 3742(g), is in effect on the date the
              defendant is sentenced.

          (6) the need to avoid unwarranted sentence disparities among defendants with
          similar records who have been found guilty of similar conduct; and

          (7) the need to provide restitution to any victims of the offense.

18 U.S.C § 3553(a)(1)-(7).

       The Supreme Court in United States v. Booker noted that calculations under the Guidelines



                                                  -4-
        Case 1:03-cr-01890-JB          Document 336          Filed 07/11/05       Page 5 of 10




were one of the factors that a sentencing court must consider under 18 U.S.C. § 3553(a) and that the

sentencing court should take all those factors into account in fashioning a sentence within the

statutorily provided sentence range. See United States v. Booker, 125 S.Ct. at 767. Section 3553(a)

continues to require sentencing judges to take certain factors into account when imposing a sentence,

including “the kinds of sentence and the sentencing range established” by the Guidelines. 18 U.S.C.

§ 3553(a)(4). The Supreme Court preserved “Congress’ basic goal in passing the Sentencing Act

[which] was to move the sentencing system in the direction of increased uniformity.” United States

v. Booker, 125 S.Ct. at 761. Sentencing systems that operate solely upon the principle of unguided

discretion lack uniformity and accountability. See Blakely v. Washington, 124 S.Ct. at 2544-45

(O’Connor, J., dissenting).

        Moreover, § 3553(c) of the Sentencing Reform Act, which Congress amended in 2003 to

place limitations on departures from the Guidelines, also remains intact. The Sentencing Reform Act

still requires sentencing judges to state in writing their reasons for departing from the Guidelines:

        The court, at the time of sentencing, shall state in open court the reasons for its
        imposition of the particular sentence, and, if the sentence--

        ****

           (2) . . . is outside the range, described in subsection (a)(4), the specific reason for
           the imposition of a sentence different from that described, which reasons must also
           be stated with specificity in the written order of judgment and commitment . . . .


18 U.S.C. § 3553(c)(2).

        Taking into account this provision of 18 U.S.C. § 3553, a reasonable sentence under United

States v. Booker is one that “reflect[s] the seriousness of the offense, promote[s] respect for the law,

provide[s] just punishment, afford[s] adequate deterrence, protect[s] the public, and effectively


                                                   -5-
       Case 1:03-cr-01890-JB          Document 336        Filed 07/11/05      Page 6 of 10




provide[s] the defendant with needed educational or vocational training and medical care.” United

States v. Booker, 125 S.Ct. at 765 (citing 18 U.S.C. § 3553(a)(2)). A reasonable sentence is also

one that takes into account “the pertinent Sentencing Commission policy statements, the need to

avoid unwarranted sentencing disparities, and the need to provide restitution to victims.” United

States v. Booker, 125 S.Ct. at 764-65 (citing 18 U.S.C. §§ 3553(a)(1), (3), (5)-(7)). See 18 U.S.C.

§ 3553(a)(6)(directing the court to consider “the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct”). Moreover,

under United States v. Booker, the Guidelines form a useful starting point for the sentencing court’s

determinations, and the Supreme Court has required the sentencing court to consider the Guidelines

along with the other factors under § 3553(a). See United States v. Booker, 125 S.Ct. at 767.

                                           ANALYSIS

       Based on Lee’s offense level and criminal history, the Guidelines sentence range is 135 to 168

months. To avoid sentencing disparity with a co-defendant of equal culpability and to more

effectively promote the sentencing goals outlined in 18 U.S.C. § 3553(a), the Court exercises its

discretion and deviates from the Guidelines sentence. Because the Court concludes that the safety

valve reduction is not available to Lee, the Court will deviate downward to the statutory minimum

of 120 months.




                                                -6-
        Case 1:03-cr-01890-JB          Document 336         Filed 07/11/05      Page 7 of 10




I.     THE DEFENDANT WILL RECEIVE A TWO-LEVEL ENHANCEMENT FOR
       BEING IN POSSESSION OF A FIREARM.

       Under § 2D1.1(b)(1), a defendant’s offense level may be increased by two levels if the

defendant possessed a firearm. “[F]or purposes of § 2D1.1(b)(1), once the government has met its

initial burden of showing that a weapon ‘was possessed,’ the defendant must then show that it is

clearly improbable that a weapon was not connected to the offense.”                 United States v.

Zavalza-Rodriguez, 379 F.3d 1182, 1187 (10th Cir. 2004). In this case, Lee admitted to owning the

gun which was found in the car’s console in which he was arrested. Lee admitted to Probation that

he was the registered owner of the firearm and that he carried it for his protection. See Addendum

to PSR ¶ 4, at 1 (approved November 15, 2004).1 Moreover, the pistol and the narcotics were both

located in the center console of the car. See PSR ¶ 116, at 29. In addition, Lee was sitting in the

driver’s seat next to the console, in close proximity to the firearm. See id. Thus, the Court finds that

Lee possessed the firearm. Moreover, the Court cannot conclude that it is clearly improbable the

pistol was not connected to Lee’s drug trafficking offense. A sentencing enhancement of two levels,

therefore, is warranted under § 2D1.1(b)(1).

II.    THE DEFENDANT IS NOT ELIGIBLE FOR THE SAFETY VALVE REDUCTION.

       Under “§ 5C1.2 . . . the defendant’s own conduct [must ] determin[e] whether the defendant

has established by a preponderance of the evidence that the weapon was not possessed ‘in connection



       1
        At the sentencing hearing, the Court noted that Lee’s statement to Probation came close to
an admission or concession of the necessary finding that Lee “possessed” the gun for the purposes
of § 2D1.1(b)(1). Lee’s counsel responded that his client, Lee, has been very honest, and that this
honesty has been problematic. See Transcript of Hearing at 9:3-10.

       The Court’s citations to the transcript of the hearing refer to the Court Reporter’s original,
unedited version. Any finalized transcript may contain slightly different page and/or line numbers.

                                                  -7-
        Case 1:03-cr-01890-JB          Document 336         Filed 07/11/05       Page 8 of 10




with the offense.’” Here, Lee admitted to owning the pistol and carrying it for his protection, and

the pistol and the narcotics were both located in the center console of the car. See PSR ¶ 116, at 29;

Addendum to PSR ¶ 4, at 1. Lee concedes that he is not eligible for the safety valve reduction

because of the firearm. See Defendant’s Sentencing Memorandum ¶ 7, at 2. Moreover, the United

States contends that Lee is also ineligible for the safety valve because he did not provide to the United

States all information concerning the offense. See U.S.S.G. § 5C1.2(a)(5). The Court concludes that

the two-level reduction under the safety valve provision does not apply. See U.S.S.G. § 5C1.2(a)(2).

        Nevertheless, Lee requests that this Court, under United States v. Booker, exercise its

discretion and make the safety valve reduction available. Although a court now has discretion to

deviate from the Guidelines sentence, it cannot prescribe a sentence that is lower than any applicable

statutory minimum. Under 21 U.S.C. § 841(b)(1)(A), Lee’s sentence is subject to a ten-year

minimum, unless he qualifies for the safety valve reduction. As discussed above, Lee does not qualify

for the safety valve. Thus, the Court cannot sentence him to a term of less than 120 months.

III.    THE COURT WILL DEVIATE UNDER UNITED STATES V. BOOKER FROM THE
        PROPOSED GUIDELINE RANGE.

        Lee requests that, even if he is not eligible for the safety valve, the Court deviate from the

Guidelines range and sentence him to the statutory minimum. The Court has fully considered the

applicable sentencing range based on the United States Sentencing Guidelines. In light of other

sentencing goals, such as the seriousness of the offense, promoting respect for the law, providing just

punishment, affording adequate deterrence, protecting the public, effectively providing the defendant

with needed medical care, and otherwise fully reflecting each of the factors embodied in 18 U.S.C.

§ 3553(a), the Court declines to impose a sentence within the range proscribed by the Sentencing



                                                  -8-
       Case 1:03-cr-01890-JB          Document 336        Filed 07/11/05      Page 9 of 10




Guidelines. The Court will impose a reasonable sentence that, although it varies from the Guidelines,

will more effectively promote the sentencing goals outlined in 18 U.S.C. § 3553(a).

       In this case, Lee’s sentence is subject to a ten-year minimum sentence under 21 U.S.C. §

841(b)(1)(A). Congress’statutory minimum is adequate for this crime and for this Defendant. One

of the factors considered by the Court is “the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C. §

3553(a)(6). One of Lee’s co-Defendants, Ellis, who was in the car with Lee and who was arrested

at the same time as Lee, see PSR ¶ 116, at 29, was eligible for the safety valve and received a

sentence of 87 months. See Judgment at 1 (filed November 19, 2004). At the sentencing hearing,

however, the United States acknowledged that Lee and Ellis were of similar culpability in terms of

the drug trafficking crime for which they were arrested. See Transcript of Hearing at 11:14-17; id.

at 19:4-15. While the Court believes that Lee should serve a longer sentence because he possessed

a firearm in connection with the drug trafficking offense, the difference between Ellis’sentence and

the Guidelines sentence creates too great of a disparity between defendants who are otherwise of

equal culpability. The difference between Lee’s sentence of a statutory minimum of 120 months and

Ellis’ sentence of 87 is sufficient, but not greater than necessary, to more effectively promote the

sentencing goals that 18 U.S.C. § 3553(a) outlines. The Court believes a sentence of 120 months is

reasonable and will more effectively promote the sentencing goals outlined in 18 U.S.C. § 3553(a).

The sentence is sufficient, without being greater than necessary, to comply with the purposes set

forth in the Sentencing Reform Act.

       IT IS ORDERED that Defendant Toby Jerome Lee’s request for the safety valve reduction

is denied. The Defendant’s request for a deviation from the Guidelines sentence, however, is granted,


                                                -9-
      Case 1:03-cr-01890-JB           Document 336      Filed 07/11/05   Page 10 of 10




and the Court will impose a sentence of 120 months.




                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE


Counsel:

David C. Iglesias
 United States Attorney
     for the District of New Mexico
Erlinda Johnson
 Assistant United States Attorney
Albuquerque, New Mexico

       Attorneys for the Plaintiff

Thomas J. Clear
Clear & Clear, P.A.
Albuquerque, New Mexico

       Attorney for Defendant Toby Jerome Lee

Richard McClarkin
Albuquerque, New Mexico

       Attorney for Defendant Sunsarae Denise Ellis




                                             -10-
